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                                                10                                     UNITED STATES DISTRICT COURT
                                                11
                                                                                      NORTHERN DISTRICT OF CALIFORNIA
            1388 S UTTER S TREET , S UITE 715




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                                                14   MARQUS MARTINEZ and DANIEL                       Case No.
                                                     BANKS,
                                                15
                                                                        Plaintiffs,                   COMPLAINT FOR DAMAGES AND
                                                16                                                    INJUNCTIVE RELIEF
                                                                   v.
                                                17
                                                     COUNTY OF SONOMA, STEVE FREITAS,                     1. § 1983 FOURTH AMENDMENT
                                                18   MAZEN AWAD, BRIAN GALLOWAY, and                      2. § 1983 EIGHT AMENDMENT
                                                     DOES 1-50, inclusive.                                3. § 1983 SUPERVISORY LIABILITY
                                                19                                                        4. § 1983 CUSTOMS, POLICIES, AND
                                                                        Defendants.                          DELIBERATE INDIFFERENCE
                                                20                                                        5. § 1983 RATIFICATION
                                                21
                                                                                                      JURY TRIAL DEMAND
                                                22

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                                                                               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                 1                                             INTRODUCTION
                                                 2          This complaint is brought on behalf of two out of over twenty young men whom
                                                 3   defendants systematically and sadistically attacked on May 28, 2015 in the Male Special Module
                                                 4   of the Sonoma County Main Adult Detention facility in Santa Rosa, California.
                                                 5          In response to hearing defendants beating up several inmates in the module, plaintiff
                                                 6   Martinez had a panic attack. In response to Martinez’s plea for help, jail staff repeatedly beat him
                                                 7   up too. Plaintiff Banks attempted to avoid an assault by lying face down on his mattress to show
                                                 8   submission. This strategy failed. Defendants savagely attacked and punished Banks, along with
                                                 9   every other inmate. An uninterrupted stream of nearly identical attacks occurred up and down the
                                                10   housing unit over the span of over five hours, under the direction and supervision of Sgt.
                                                11   Galloway, Lt. Awad, and other supervisory staff.
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                                                12          Despite each inmate being confined to a locked 6-by-10 foot room, all twenty-five men on
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                                                13   the unit were removed from their cells and beaten. The Special Emergency Response Team

                                                14   (SERT) arrived in black body armor and ski masks and began extracting inmates from their cells,

                                                15   one at a time. SERT did not request nor wait for compliance from the inmates.

                                                16          For five-and-a-half hours, the jail was filled with screams, cries of pain, and the sound of

                                                17   inmates begging the deputies to stop. Plaintiffs now seek compensatory and punitive damages in

                                                18   addition to appropriate injunctive relief to remedy an ongoing pattern of egregious Constitutional

                                                19   violations and human suffering occurring in the Sonoma County Main Adult Detention facility.

                                                20                                        JURISDICTION & VENUE

                                                21          PLAINTIFFS Marqus Martinez and Daniel Banks allege as follows against defendants.

                                                22          1. This action is brought pursuant to 42 U.S.C. §§ 1983 and the Fourth, Eighth and

                                                23   Fourteenth Amendments to the United States Constitution. Jurisdiction is based upon 28 U.S.C.

                                                24   §§ 1331 and 1343.

                                                25          2.      The claims alleged herein arose in the County of Sonoma in the State of

                                                26   California. Venue for this action lies in the United States District Court for the Northern District

                                                27   of California under 28 U.S.C. §1391(b)(2).

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                                                                              COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
                                                      Case 3:15-cv-04574-JD          Document 1        Filed 10/05/15      Page 3 of 14



                                                 1                                                 PARTIES
                                                 2          3.      Plaintiffs Marqus Martinez and Daniel Banks (hereinafter “plaintiffs”) are
                                                 3   residents of Sonoma County, California.
                                                 4          4.      Defendant County of Sonoma is a public entity situated in the State of California
                                                 5   and organized under the laws of the State of California.
                                                 6          5.      At all relevant times, defendant Steve Freitas was the Sheriff and elected official
                                                 7   of the County of Sonoma. Plaintiffs allege on information and belief that Sheriff Freitas is legally
                                                 8   and ethically responsible for supervising and managing the jails in Sonoma County and, in that
                                                 9   capacity, is responsible for protecting the health and safety of both inmates and staff. Sheriff
                                                10   Freitas and his sworn staff, while acting under color of law, have taken an oath to uphold the
                                                11   Constitution of the United States.
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                                                12          6.      At all relevant times, defendant Mazen Awad was an employee of the County of
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                                                13   Sonoma and a Lieutenant for the Sheriff’s Office. Plaintiffs allege on information and belief that

                                                14   Lieutenant Mazen Awad was the Watch Commander and/or the highest ranking person in

                                                15   command during the events alleged herein that occurred on May 28, 2015. In that capacity Lt.

                                                16   Awad directly and intentionally authorized, encouraged, and personally participated in the

                                                17   egregious Constitutional violations alleged herein. Plaintiffs also have information and believe

                                                18   that the acts and omissions alleged herein are consistent with a pattern and practice of excessive

                                                19   and unnecessary force and punishment, maliciously and sadistically directed at inmates by Lt.

                                                20   Awad and those under his supervision and direction.

                                                21          7. At all relevant times, defendant Brian Galloway was an employee of the County of

                                                22   Sonoma and a Sergeant for the Sheriff’s Office. Plaintiffs allege on information and belief that

                                                23   Sergeant Brian Galloway was on duty and acting in his capacity as a supervisor during the

                                                24   incident alleged herein on May 28, 2015. In that capacity Sgt. Galloway acted in concert with Lt.

                                                25   Awad to directly and intentionally authorize, encourage, and participate in the egregious

                                                26   Constitutional violations that occurred herein. Plaintiffs also have information and believe that

                                                27   the acts and omissions alleged herein are consistent with a pattern and practice of excessive and

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                                                                              COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                 1   unnecessary force and punishment, maliciously and sadistically directed at inmates by Sgt.
                                                 2   Galloway and those under his supervision and direction.
                                                 3          8.      The true names and capacities, whether individual, corporate, associate or
                                                 4   otherwise, of defendants Does 1 through 50 inclusive, are unknown to the plaintiffs, who
                                                 5   therefore sue said defendants by such fictitious names. Defendants DOES 1 through 50, and each
                                                 6   of them, were responsible in some manner for the injuries and damages alleged herein. Plaintiffs
                                                 7   are informed and believe and thereupon allege that each of them is responsible for the injuries and
                                                 8   damages alleged herein.
                                                 9          9.      In doing the acts and/or omissions alleged herein, the defendants, including DOES
                                                10   1 through 50, acted in concert and/or conspired with each of said other defendants herein.
                                                11          10.     At all times during the incident, the defendants acted under color of state law in
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                                                12   the course and scope of their duties as agents and employees of the County of Sonoma.
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                                                13          11.     Defendants’ conduct was authorized, encouraged, condoned and ratified by the

                                                14   County of Sonoma.

                                                15                                           STATEMENT OF FACTS

                                                16          12.     On May 28th, 2015 at approximately 10:30 a.m., Sonoma County Correctional

                                                17   Deputy Bogdan Panek was performing “soap call” in the Male Special Module of the Sonoma

                                                18   County Main Adult Detention Facility. During Soap Call inmates receive various forms, shower

                                                19   soap, and supplies from a deputy. Inmates may miss soap call for various reasons, including

                                                20   sleeping. In such a case, the sleeping inmate receives no supplies.

                                                21          13.     Upon arriving at the cell of Giovanni Montes, Deputy Panek knocked and called

                                                22   out to the inmate. Montes, who was sleeping and on heavy medication, did not respond. The

                                                23   deputy repeated his attempts to awaken Montes by pounding on the inmate’s cell-door and

                                                24   scraping his keys across the cell window. The noise of the disturbance alerted other inmates who

                                                25   witnessed the following events.

                                                26          14.     Deputy Panek became verbally hostile with Montes, and told him that he was

                                                27   going to lose his “OCA” or “out-of-cell” privileges for sleeping through soap call. Inmates in

                                                28   Male Special are given one hour of OCA every two days. It is the only time where inmates are
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                                                 1   allowed out of their cells to bathe, exchange reading material, or make phone calls. Montes
                                                 2   became angry and exchanged words with the Deputy through his cell door.
                                                 3          15.     In response, Deputy Panek radioed for the assistance of additional jail staff. Three
                                                 4   unknown deputies arrived on the unit. Montes’ cell was opened and the deputies entered. They
                                                 5   grabbed Montes and threw him to the ground, handcuffed him, then slammed his head into the
                                                 6   floor, striking several rapid and violent blows about his head, shoulders, neck, and back. One
                                                 7   deputy kicked Montes in the head. Another deployed a Taser against the inmate. Deputies then
                                                 8   removed Montes from the unit to administer “yard-counseling,” a practice that is common in the
                                                 9   jail and routinely involves the application of physical violence to inmates. Deputies dressed in all
                                                10   black wearing ski masks dragged Montes to the shower, ordered him to strip naked, and told the
                                                11   inmate he was their “bitch.” While naked and defenseless, deputies threw Montes to the ground
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                                                12   and began another round of savage beatings. Following the episode in the shower, deputies
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                                                13   dressed Montes in underwear many sizes too small in order to humiliate him in front of the other

                                                14   inmates. They removed him to an elevator and slammed his face into the metal of the elevator’s

                                                15   interior, then dragged the inmate back to his cell. Over the course of the next many hours,

                                                16   deputies would return to beat Montes on several other occasions, at one point strapping him to a

                                                17   restraint chair and placing a mask over his head. Montes screamed that he could not breath, but

                                                18   deputies left him bound for half an hour before rehousing him in a padded room.

                                                19          16.     Many of these events occurred in view of Jesus Lopez, whose cell was nearby.

                                                20   Horrified by Montes’s treatment, Lopez screamed through the doors at the deputies that what they

                                                21   were doing was wrong.

                                                22          17.     At 11:15 a.m., approximately six more deputies arrived on the unit. These deputies

                                                23   made their way to the cell of Lopez. After a verbal exchange through the cell door in which

                                                24   Lopez repeated his concerns regarding Montes, deputies ordered him to turn around and place his

                                                25   hands behind his back. Lopez complied. Deputies cuffed Lopez through the food-tray slot,

                                                26   opened his door, and threw him to the floor, face first. With his body prone on the concrete,

                                                27   deputies began grinding his face into the floor and pummeling his body, causing injury to his

                                                28   shoulder while yelling “stop resisting!” Deputies repeatedly called Lopez a “bitch” and told him
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                                                 1   that he was “in their house now.” Lopez cried that the deputies had injured his shoulder. In
                                                 2   response the deputies lifted Lopez by his arms causing him excruciating pain, and removed him
                                                 3   to the “yard” just as they had Montes.
                                                 4          18.     Once in the yard, deputies again threw Lopez to the concrete face first with his
                                                 5   hands still bound behind his back. Due to his restraints, Lopez could not break his fall and the
                                                 6   subsequent force of the landing caused the air in his lungs to escape rapidly and painfully. As
                                                 7   Lopez lay stunned, restrained, and unable to breath, deputies jumped on his back and attempted to
                                                 8   fold his legs towards his head. Deputies continued to yell, “stop resisting!” The physical
                                                 9   exchange left Lopez with an injured right foot and in serious abdominal pain. Lopez repeatedly
                                                10   told deputies of his injuries and difficulty breathing. His screaming and complaints were met with
                                                11   laughter. Deputy Panek derided Lopez for his complaints, then stomped on his injured foot while
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                                                12   returning him to a holding cell. With every medical complaint Lopez made deputies responded
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                                                13   sarcastically, “Why? What happened to you?”

                                                14          19.     Later deputies returned to Lopez’s cell again and ordered him out of his cell. He

                                                15   informed deputies that he could barely move due to the injury to his foot. The deputies stormed

                                                16   his cell and removed him to the yard again. Again they threw a restrained Lopez onto the ground

                                                17   face first. Deputy Medeiros began grinding Lopez’s face into the concrete, asking him “does the

                                                18   concrete feel good on your face?” and reminding the inmate that he was their “bitch,” that they

                                                19   were “having fun” beating the inmates, and that they could “do this all day.” Lopez cried in pain

                                                20   and requested medical attention, but his cries only met with further punishment from jail staff.

                                                21   Correctional deputies began to push Lopez’s legs over his back and toward his neck again as

                                                22   Deputy Medeiros pinned his torso to the ground with a knee. Another deputy then asked Lopez if

                                                23   he “was going to be able to follow orders.”

                                                24          20.     At this time Lt. Awad arrived and announced to Lopez that it would be better for

                                                25   him if he started following house rules. Lopez told the lieutenant that what was happening was

                                                26   wrong. The lieutenant told Lopez that he was “sick in the head” and informed him that he was

                                                27   going to be “taught a little lesson.”

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                                                 1           21.    At the direction of Lt. Awad, deputies then began a third round of violent beatings,
                                                 2   punching and kicking Lopez and smashing his face into the concrete. As the beatings continued,
                                                 3   the lieutenant told Lopez that he was to blame for the violence. Lopez cried that they were
                                                 4   treating him worse than an animal. The response from the deputies was swift.
                                                 5           22.    Lopez felt an unknown deputy punch the back of his neck and other deputies
                                                 6   began punching, kicking, and body-slamming Lopez to the point of involuntary defecation. They
                                                 7   placed shackles around Lopez’s feet and attached them through his handcuffs to a chain secured
                                                 8   around his waist. A mask was put over his head and Deputy Medeiros began bashing his face into
                                                 9   the floor.
                                                10           23.    The deputies dragged Lopez to the mental-health unit and stripped him naked.
                                                11   Covered in his own feces, Lopez pleaded for toilet paper. The deputies ignored his pleas, laughed
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                                                12   at him, and locked him naked in isolation covered in his own feces for two days. Lopez did not
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                                                13   receive medical treatment during this period.

                                                14           24.    After two days in the mental health module, Lopez was returned to his cell.

                                                15   Deputies had removed all of his personal belongings, including toilet paper, his letters and

                                                16   photographs, and other incidentals. Lopez was left in his closed and locked cell for another four

                                                17   days before being permitted to shower. In addition to his injured foot, Lopez suffered head and

                                                18   abdominal injuries and remained in constant pain for many weeks after the attacks. The window

                                                19   port on his cell door, the only view to the world outside of his tiny cell, was locked closed by Sgt.

                                                20   Galloway for the next thirty days.

                                                21           MARTINEZ

                                                22           25.    Following the beating of Lopez, correctional deputies systematically closed the

                                                23   windows on every inmate’s door. Marqus Martinez, an inmate awaiting disposition of criminal

                                                24   charges who had a documented history of severe anxiety, began begging the deputies to open his

                                                25   window, yelling that he was having a panic attack. The deputies advanced to Martinez’s cell and

                                                26   ordered him to back up to the door and place his hands behind his back through the food tray slot

                                                27   so that he could be handcuffed. Martinez complied. Deputies then entered his cell and grabbed

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                                                 1   him from behind by the arms. Martinez asked what was going on. A deputy replied, “So you want
                                                 2   to disturb our unit, huh?”
                                                 3          26.     Deputies removed Martinez from his cell, and with his hands cuffed behind his
                                                 4   back, he was thrown face first to the ground, and, was unable to break his fall. Deputies began
                                                 5   twisting his wrists over his handcuffs, subjecting Martinez to excruciating pain, while other
                                                 6   deputies folded his legs up behind him, applying crushing weight to his chest. Martinez pleaded
                                                 7   that he was unable to breath and begged the deputies to stop. He screamed that he would do or
                                                 8   say anything the deputies wanted. The deputies said, “Let me hear you say it. Say it! Say, ‘This is
                                                 9   our house!’ We can do this all day.” When the deputies finally relented, Martinez realized his leg
                                                10   was injured so badly that it could no longer bare weight. Unable to walk back to his cell, he was
                                                11   dragged back by jail staff. Martinez observed that jail staff were present videotaping some
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                                                12   portions of the events.
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                                                13          27.     Back in his cell, Martinez repeatedly called for medical assistance for over an hour

                                                14   with no response. Due to his injuries, he was unable to pick himself up off the floor where the

                                                15   deputies left him. For two more hours he listened to screams of pain and torture from the other

                                                16   inmates as jail staff proceeded down the tier, removing each individual from his cell and

                                                17   subjecting him to similar beatings.

                                                18          28.     Laying on the floor unable to move, Martinez heard his door open again. Hoping

                                                19   that it was the doctor, the inmate looked up just in time to see the SERT team returning to his cell

                                                20   wearing all black, with their nametags removed and ski masks covering their faces. They entered

                                                21   his cell and attacked him with overwhelming force, kicking, punching, and kneeing him and

                                                22   knocking his head into the floor. They called him a “bitch” and “a piece of shit.” They spat on

                                                23   him and threatened to continue the beatings if he were to ever yell out again.

                                                24          29.     The SERT team removed Martinez for another round of “yard counseling,” then

                                                25   dragged his limp body back to his cell where they left him on the concrete, broken and unable to

                                                26   care for himself. Martinez remained on the floor unable to move for more than twenty-four hours.

                                                27   He was denied medical attention, and despite his pleas, his door’s only window was closed for the

                                                28   next thirty days.
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                                                 1           BANKS
                                                 2           30.    While the housing module filled with the screams of other inmates, Daniel Banks,
                                                 3   an inmate awaiting disposition for a violation of probation, laid face down on his mattress with
                                                 4   his hands behind his back. For hours he had listened to the beatings all around him. He hoped that
                                                 5   by his show of submission he would avoid being beaten as well, but the deputies merely saved
                                                 6   him for last. His cell door opened and four deputies wearing black entered the small cell. All but
                                                 7   one was wearing a ski mask. The four deputies jumped on top of him and began kneeing and
                                                 8   punching him in the back and wrenching his arms above his head, causing him excruciating pain.
                                                 9   The deputies yelled, “stop resisting!” and smashed a pair of handcuffs around his wrists, causing
                                                10   the metal to cut into him and leaving him with bruising, swelling, permanent nerve damage and
                                                11   pain.
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                                                12           31.    Though face down, Banks turned to see his tormenters, and observed that one was
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                                                13   not wearing a ski mask [Medeiros]. He brought his face close to Banks’ and yelled, “That’s right

                                                14   – get a good look at me, you punk bitch - This is our house!” and spit in his face. The deputies

                                                15   brought Banks out of his cell, down the stairs, and into the yard where the beating continued.

                                                16   Banks was thrown to the ground with his hands cuffed behind his back and landed on his face,

                                                17   causing him abrasions and bruising and swelling around the left side of his head. While prone and

                                                18   defenseless on the ground, one deputy dropped his knee on Banks’ neck and began crushing his

                                                19   windpipe. Banks yelled out that he was unable to breath.

                                                20           32.    The deputies brought him back up the stairs to his cell, threw him on the floor, and

                                                21   told him that everyone knew that he was a “bitch” now (referring to the fact that he was laying

                                                22   face down on his mattress when the guards entered). Banks was denied medical attention for his

                                                23   injuries for more than twenty-four hours, despite six separate requests for aid. He suffers from

                                                24   serious anxiety and mental health difficulties following the incident.

                                                25           33.    Defendants’ justification for using force against plaintiff Banks on May 28, 2015

                                                26   in response to his administrative grievance was: “The actions of the deputies on that day were

                                                27   merely a response to your immediate defiance and inciting behavior as well your inability to

                                                28   follow simple instructions.”
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                                                 1          COUNTY OF SONOMA
                                                 2          34.     Plaintiffs have information and believe that the conduct alleged herein was
                                                 3   videotaped by jail staff, consistent with the customs, policies and procedures of the Sheriff’s
                                                 4   Office. The Sheriff’s Office’s policy was for staff who use force to revise and rewrite their reports
                                                 5   after command staff reviewed videotapes to ensure “consistency.” Plaintiffs further allege the
                                                 6   videotapes of May 28, 2015, as well as other similar incidents, were: (1) reviewed by supervisory
                                                 7   staff and, (2) determined to be compliant with the Sheriff’s Office’s policies.
                                                 8          35.     Plaintiffs have information and believe that the acts alleged herein are consistent
                                                 9   with a pattern and practice of gratuitous violence and punishment directed at inmates by jail staff,
                                                10   typically under the direction and supervision of Lieutenants and Sergeants. Further, this conduct
                                                11   is part of a culture and course of conduct in the Sheriff’s Office that is authorized, encouraged
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                                                12   and condoned by Assistant Sheriff Randall Walker and Sheriff Steve Freitas. Accordingly,
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                                                13   plaintiffs’ injuries were part of a pattern of officially-sanctioned behavior.

                                                14          36.     Plaintiffs’ residence in the County of Sonoma and history of being incarcerated in

                                                15   this module on several occasions establish that they face a real possibility of being subject to

                                                16   future, repeated Constitutional violations on the basis of their mere presence at the facility.

                                                17                                        STATEMENT OF DAMAGES

                                                18          37.     As a result of the acts and omissions alleged, plaintiffs suffered general damages

                                                19   including pain, fear, anxiety, and terror and related trauma in an amount according to proof.

                                                20          38.     Plaintiffs sustained serious physical injuries, including permanent injuries, and

                                                21   have also incurred and may continue to incur medical treatment and related expenses in amounts

                                                22   to be determined according to proof.

                                                23          39.     The acts and omissions of the individual defendants were sadistic, wanton,

                                                24   malicious, oppressive and/or done with a conscious or reckless disregard for the rights of

                                                25   plaintiffs. Plaintiffs therefore pray for an award of punitive and exemplary damages against these

                                                26   individual defendants in an amount according to proof.

                                                27          40.     Plaintiffs have retained private counsel to represent them in this matter and is

                                                28   entitled to an award of attorneys’ fees and costs.
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                                                                                           CAUSES OF ACTION
                                                 1
                                                                                         FIRST CAUSE OF ACTION
                                                 2                     [42 U.S.C. §1983 – FOURTH AMENDMENT - BY ALL PLAINTIFFS
                                                                        AGAINST MAZEN AWAD, BRIAN GALLOWAY AND DOES 1-50]
                                                 3
                                                            41.      All allegations set forth in this Complaint are hereby incorporated by reference.
                                                 4
                                                            42.     Defendants jointly and severally violated the plaintiffs’ clearly-established rights
                                                 5
                                                     to be free from the use of unreasonable force, punishment, and punitive conditions of
                                                 6
                                                     confinement as guaranteed and protected by the Fourth and Fourteenth Amendments to the
                                                 7
                                                     United States Constitution.
                                                 8
                                                            43.     Under all the circumstances presented in the Male Special module on May 28,
                                                 9
                                                     2015, an objectively reasonable officer would have known that: (1) the use of force upon the
                                                10
                                                     plaintiffs was excessive and could have led to serious injury or death; and, (2) punishment and
                                                11
                                                     punitive conditions of confinement imposed upon plaintiffs were not rationally related to any
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                                                     legitimate government objective, or, were excessive in relation to that purpose.
                                                13
                                                            44.     Defendants acted willfully, wantonly, maliciously, oppressively, and with
                                                14
                                                     conscious disregard to the plaintiffs’ rights.
                                                15
                                                            45.     Defendants’ misconduct was the moving force that caused plaintiffs’ injuries.
                                                16
                                                            WHEREFORE, plaintiffs pray for relief as hereinafter set forth.
                                                17
                                                                                       SECOND CAUSE OF ACTION
                                                18                     [42 U.S.C. §1983 – EIGHTH AMENDMENT - BY ALL PLAINTIFFS
                                                                        AGAINST MAZEN AWAD, BRIAN GALLOWAY AND DOES 1-50]
                                                19
                                                            46.     All allegations set forth in this Complaint are hereby incorporated by reference.
                                                20
                                                            47.     Defendants jointly and severally violated the plaintiffs’ clearly-established rights
                                                21
                                                     to be free from the use of unreasonable force, punishment, and punitive conditions of
                                                22
                                                     confinement under the Eighth and Fourteenth Amendments to the United States Constitution.
                                                23
                                                            48.     Under all the circumstances presented in the Male Special module on May 28,
                                                24
                                                     2015, an objectively reasonable officer would have known that: (1) the use of force upon the
                                                25
                                                     plaintiffs was excessive and unnecessary; and, (2) punishment and punitive conditions of
                                                26
                                                     confinement imposed upon plaintiffs were not rationally related to any legitimate government
                                                27
                                                     objective, or, were excessive in relation to that purpose.
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                                                 1          49.     Defendants knew of, disregarded and therefore were deliberately indifferent to
                                                 2   plaintiff’s substantial risks of serious harm and need for medical care after .
                                                 3          50.     Defendants’ actions described herein were taken for the purpose to harm or to
                                                 4   punish the plaintiffs rather than for any other legitimate government purpose.
                                                 5          51.     Defendants acted willfully, sadistically, maliciously, oppressively, and with
                                                 6   conscious disregard to the plaintiffs’ rights with the purpose of causing harm to the plaintiffs.
                                                 7          52.     Defendants’ misconduct was the moving force that caused plaintiffs’ injuries.
                                                 8          WHEREFORE, plaintiffs pray for relief as hereinafter set forth.
                                                 9                                       THIRD CAUSE OF ACTION
                                                10                               [42 U.S.C. §1983 – SUPERVISORY LIABILITY
                                                                                          AGAINST STEVE FREITAS]
                                                11
                                                            53.     All allegations set forth in this Complaint are hereby incorporated by reference.
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                                                12
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                                                            54.     Steve Frietas’ subordinates deprived plaintiffs of their rights to be free from the
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                                                13
                                                     use of unreasonable force, punishment, and punitive conditions of confinement under the Fourth,
                                                14
                                                     Eighth, and Fourteenth Amendments of the United States Constitution.
                                                15
                                                            55.     Plaintiffs allege on information and belief that Steve Freitas knew or reasonably
                                                16
                                                     should have known that his subordinates were engaging in these acts and that their conduct would
                                                17
                                                     deprive plaintiffs of these rights, and, failed to prevent them from engaging in such conduct.
                                                18   Alternatively, plaintiffs allege that Frietas acquiesced in plaintiffs’ Constitutional deprivations
                                                19   alleged herein or for conduct that showed a reckless or callous indifference to the rights of others.
                                                20          56.     Defendant acted willfully, wantonly, maliciously, oppressively, and with
                                                21   conscious disregard to the plaintiffs’ rights.
                                                22          57.     Defendant’s misconduct was the moving force that caused plaintiffs’ injuries.
                                                23          WHEREFORE, plaintiffs pray for relief as hereinafter set forth.
                                                24
                                                                                      FOURTH CAUSE OF ACTION
                                                25      [42 U.S.C. §1983 – FAILURE TO DISCIPLINE, POLICIES/CUSTOMS, DELIBERATE INDIFFERENCE
                                                                                  AGAINST THE COUNTY OF SONOMA]
                                                26
                                                            58.     All allegations set forth in this Complaint are hereby incorporated by reference.
                                                27

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                                                 1           59.     Plaintiffs allege on information and belief that the County of Sonoma has not
                                                 2   disciplined staff involved in the May 28th incident and other similar incidents based on the
                                                 3   customs, policies, and procedures described in this Complaint.
                                                 4           60.     The acts or omissions alleged herein regarding the use of excessive force,
                                                 5   punishment, and punitive conditions of confinement in violation of the Fourth, Eighth, and
                                                 6   Fourteenth Amendments were, upon information and belief, caused by the Sheriff’s Office of the
                                                 7   County of Sonoma’s (1) failure to discipline officers or (2) official policies, practices or customs
                                                 8   or (3) deliberate indifference to the rights of inmates at the jail.
                                                 9           61.     Plaintiffs allege on information and belief that the County of Sonoma and Steve
                                                10   Freitas knew or should have known that the alleged acts and omissions would likely result in the
                                                11   Constitutional violations alleged herein.
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                                                12           62.     Upon information and belief, plaintiffs allege that these acts and omissions were
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                                                13   the moving force that caused plaintiffs’ injuries.

                                                14           WHEREFORE, plaintiffs pray for relief as hereinafter set forth.

                                                15                                         FIFTH CAUSE OF ACTION
                                                16                                     [42 U.S.C. §1983 – RATIFICATION
                                                                                      AGAINST THE COUNTY OF SONOMA]
                                                17
                                                             63.     All allegations set forth in this Complaint are hereby incorporated by reference.
                                                18           64.     Steve Freitas had final policymaking authority for the County of Sonoma
                                                19   concerning the acts of jail staff including all individuals identified herein.
                                                20           65.     Plaintiffs allege on information and belief that Freitas ratified his subordinates’
                                                21   acts because he knew of and specifically approved of them, or, delegated his authority to review
                                                22   and approve of these use-of-force and related conditions-of-confinement incidents to others
                                                23   within his chain of command.
                                                24           66.     Upon information and belief, plaintiffs allege that these acts and omissions were
                                                25   the moving force that caused plaintiffs’ injuries.
                                                26           WHEREFORE, plaintiff prays for relief as hereinafter set forth.
                                                27

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                                                 1                                           PRAYER FOR RELIEF
                                                 2          Plaintiffs pray for relief as follows:
                                                 3          1.      For compensatory and economic damages according to proof;
                                                 4          2.      For general damages according to proof;
                                                 5          3.      For an award of exemplary or punitive damages against the individual defendants;
                                                 6          4.      For an award of attorney’s fees and costs as permitted by law;
                                                 7          5.      For injunctive relief designed to remedy the unlawful practices alleged herein,
                                                 8   including but not limited to: (a) the appointment of a monitor to review all videotapes and reports
                                                 9   regarding use-of-force incidents, including Tasers; (b) an order prohibiting written reports
                                                10   prepared by those involved in use-of-force incidents from being revised or altered based on
                                                11   videotape evidence; (c) an order requiring a copy of all grievances, and the administrative review
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                                                12   of each, to be reviewed by the monitor; and, (d) the monitor shall provide quarterly reports to the
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                                                13   Court, and plaintiffs’ counsel, for a period of three years summarizing his or her evaluation of

                                                14   each use-of-force incident and the outcome of the County’s/Sheriff’s administrative review of

                                                15   each use-of-force incident. In addition, the Court shall retain jurisdiction for three years and may

                                                16   hold evidentiary hearings, and revise or enter additional orders, as necessary and appropriate.

                                                17          6.      For such other and further relief as the Court may deem necessary and appropriate.

                                                18                                         JURY TRIAL DEMANDED
                                                19
                                                            Plaintiffs hereby request a jury trial on all issues so triable.
                                                20

                                                21   Dated: October 5, 2015                                                    SCOTT LAW FIRM
                                                22

                                                23
                                                                                                                        By: /s/ John Houston Scott
                                                24                                                                          John Houston Scott
                                                                                                                            Attorneys for Plaintiffs
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